        Case 8:23-bk-10571-SC             Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                 Desc
                                          Main Document     Page 1 of 28



1    PETER C. ANDERSON
     UNITED STATES TRUSTEE
2    QUEENIE K. NG (State Bar No. 223803)
     TRIAL ATTORNEY
3    OFFICE OF THE UNITED STATES TRUSTEE
     411 West Fourth Street, Suite 7160
4    Santa Ana, CA 92701-8000
     Telephone: (714) 338-3403
5    Facsimile: (714) 338-3421
     Email: Queenie.K.Ng@usdoj.gov
6
7

8                                      UNITED STATES BANKRUPTCY COURT

9                        CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
10
      In re:                                                CASE NUMBER: 8:23-bk-10571-SC
11
                                                            CHAPTER 11
12
      THE LITIGATION PRACTICE GROUP
                                                            NOTICE OF MOTION AND MOTION BY
13    P.C.,                                                 UNITED STATES TRUSTEE TO DISMISS OR
                                                            CONVERT CASE PURSUANT TO 11 U.S.C.§
14                                                          1112(b); MEMORANDUM OF POINTS AND
                                                            AUTHORITIES; DECLARATION OF
15                                                          MARILYN SORENSEN IN SUPPORT
                                                            THEREOF
16
17                                                          Date:     May 3, 2023
                                                            Time:     1:30 p.m.
18                                         Debtor.          Ctrm:     5C – Virtual1
19
20             TO THE HONORABLE SCOTT CLARKSON, UNITED STATES BANKRUPTCY

21   JUDGE, DEBTOR, DEBTOR’S COUNSEL AND ALL PARTIES IN INTEREST:

22             NOTICE IS HEREBY GIVEN that on the above date and time and in the indicated courtroom, the

23   United States Trustee for Region 16 (hereafter “U.S. Trustee”) will move and does hereby move this Court

24   for an Order dismissing or converting this case under 11 U.S.C. § 1112(b) and Local Bankruptcy Rule

25   9011-2 on the grounds set forth below.

26
27             1 Accessibility information will be posted into the Court’s tentative ruling prior to the hearing.
     Parties can obtain such accessibility information on Judge Clarkson's posted hearing calendar which may
28
     be viewed online at: http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.
                                                           1
         Case 8:23-bk-10571-SC         Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                 Desc
                                       Main Document     Page 2 of 28



1
2           If you wish to oppose this Motion, you must file a written response with the Bankruptcy Court

3    and serve a copy of it upon the U.S. Trustee at the address set forth in the upper left-hand corner of this
4    document, upon the Debtor no less than fourteen (14) days prior to the hearing above. If you fail to file a
5    written response to this Motion within such time period, the Court may treat such failure as a waiver of
6    your right to oppose the Motion and may grant the requested relief. See Local Bankruptcy Rule (“LBR”)
7    9013(f) and (h).

8           This Motion is based on this notice, the attached Memorandum of Points and Authorities, the
9    paper, pleadings and files of record and such evidence as the Court might receive at the time of the hearing
10   on the Motion.
11
12
                                                           Respectfully submitted,
13                                                         PETER C. ANDERSON
                                                           UNITED STATES TRUSTEE
14
     Dated: March 30, 2023                                 /s/ Queenie K. Ng
15
                                                           QUEENIE K. NG
16                                                         Trial Attorney

17

18
19
20
21
22
23
24
25
26
27
28
                                                            2
         Case 8:23-bk-10571-SC          Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                     Desc
                                        Main Document     Page 3 of 28



1                                                               I.
2                                                     INTRODUCTION

3           The Litigation Practice Group P.C. (“Debtor”) filed this Chapter 11 petition on March 20, 2023.
4    The U.S. Trustee is seeking to dismiss or convert the Debtor’s case to one under Chapter 7 pursuant to 11
5    U.S.C. § 1112(b) because it has failed to comply with any of the U.S. Trustee’s Guidelines and
6    Requirements for Chapter 11 Debtors in Possession.
7                                                          II.

8                                             STATEMENT OF FACTS

9           1. Filing of Voluntary Chapter 11 Petition

10          On March 20, 2023, Debtor filed a voluntary Chapter 11 petition in the United States Bankruptcy

11   Court for the Central District of California [Bankr. Dkt. #1].2 The Debtor’s Schedules and the Statement

12   of Financial Affairs are due on April 3, 2023.

13          2. Failure to Provide Proof of Insurance Coverage

14          To date, the Debtor has not provided any commercial general liability, workers’ compensation,

15   automobile, and/or any other insurance certificate(s) to the U.S. Trustee. 3

16          3. Failure to Provide Real Property Questionnaire(s)

17          To date, the Debtor has failed to provide any Real Property Questionnaire(s) for any leased or

18   owned real property. 4

19          4. Failure to Provide Sufficient Proof of Closure of Pre-Petition Bank Account(s)

20          The Debtor has not filed schedules and has not provided any compliance to the U.S. Trustee, so it

21   is unclear the number of pre-petition bank account(s) held and maintained by the Debtor. In any event, the

22   Debtor has not provided any proof that any pre-petition bank accounts have been closed. 5

23
24          2 A true and accurate copy of the Case Pacer Docket for Case No. 8:23-bk-10571-SC is attached
     hereto as Exhibit “A” and is incorporated herein by this reference as if set forth in full; see also
25   Declaration of Marilyn Sorensen in Support of this Motion (“Sorensen Declaration”), at ¶ 2.
26          3 Id. at ¶ 5(a).
27          4 Id. at ¶ 5(b).
28
            5 Id. at ¶ 5(c).
                                                            3
         Case 8:23-bk-10571-SC          Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                Desc
                                        Main Document     Page 4 of 28



             5. Failure to Provide Evidence of the Opening of the Debtor-In-Possession Bank Account(s)
1
2           To date, the Debtor has failed to provide evidence of the opening of the Debtor-In-Possession bank

3    account(s), including a copy of the “Debtor-In-Possession” check for the account(s). 6

4            6. Failure to Provide Projected Cash Flow Statement
5
             To date, the Debtor has failed to provide a projected cash flow statement for the first ninety (90)
6
     days of operation under Chapter 11, as required by the U.S. Trustee’s Guidelines and Requirements for
7
     Chapter 11 Debtors in Possession (effective September 1, 2022).7
8
             7. Failure to Provide Proof of Recording of Chapter 11 Petition
9
10           To the extent that the Debtor owns any real property, it has failed to provide a conformed copy of

11   the recording of its bankruptcy petition in each county in which real property is owned. 8
12           8. Failure to Provide Proof of Required Certificate and License
13
             To date, the Debtor has failed to provide proof of required certificate(s) and/or applicable license(s)
14
     for the business. 9
15
             9. Failure to Provide Income Tax Returns
16
17           To date, the Debtor has failed to provide income tax returns for its two most recent years. 10

18           10. Failure to Provide Financial Statements

19           To date, the Debtor has failed to submit copies of its most recent financial statements (audited and
20   unaudited), including but not limited to a balance sheet, income (profit and loss) statement and a cash flow
21
     statement. 11
22
23
             6 Id. at ¶ 5(d).
24
             7 Id. at ¶ 5(e).
25
26           8 Id. at ¶ 5(f).

27           9 Id. at ¶ 5(g).

28           10 Id. at ¶ 5(h).
                                                            4
         Case 8:23-bk-10571-SC           Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                  Desc
                                         Main Document     Page 5 of 28



              11. Failure to Provide Declaration Regarding Compliance with U.S. Trustee Guidelines and
1                 Requirements for Chapter 11 Debtors in Possession
2
              To date, the Debtor has failed to provide the Declaration (“Compliance Declaration”) of Debtor
3
     Regarding Compliance with U.S. Trustee Guidelines and Requirements for Chapter 11 Debtors in
4
     Possession (Form USTLA-3). 12
5
6             12. Failure to Provide Statement of Major Issues and Timetable Report

7             To date, the Debtor has failed to provide the Statement of Major Issues and Timetable Report. 13

8             13. Failure to Provide Employee Benefit Plan Questionnaire
9
              To date, the Debtor has failed to submit an Employee Benefit Plan Questionnaire (Form USTLA-
10
     8). 14
11
              14. Failure to Submit any Notice of Setting/ Increasing Insider Compensation
12
              To the extent the Debtor is seeking to pay its insider(s) in this case, the Debtor has failed to serve
13
14   any Notice of Setting/ Increasing Insider Compensation pursuant to LBR 2014-1(a). 15

15            15. Failure to Provide a List of Insiders as Defined in 11 U.S.C. § 101(31)
16            To date, the Debtor has failed to provide a list of insiders as defined in 11 U.S.C. § 101(31). 16
17
                                                              III.
18
                                  MEMORANDUM OF POINTS AND AUTHORITIES
19
              The United States Trustee respectfully submits that the following memorandum of points and
20
     authorities in support of his motion to dismiss or convert this case pursuant to 11 U.S.C. § 1112(b). Under
21
22
              11 Id. at ¶ 5(i).
23
              12 Id. at ¶ 5(j).
24
              13 Id. at ¶ 5(k).
25
26            14 Id. at ¶ 5(l).

27            15 Id. at ¶ 5(m).

28            16 Id. at ¶ 5(n).
                                                             5
         Case 8:23-bk-10571-SC           Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                 Desc
                                         Main Document     Page 6 of 28



1    11 U.S.C. § 1112(b)(1), the Court may dismiss or convert a case if a movant establishes “cause.” The

2    bankruptcy court has broad discretion in determining what constitutes "cause" adequate for dismissal

3    under 11 U.S.C. § 1112(b). See In re Consolidated Pioneer Mortg. Entities, 248 B.R. 368, 375 (9th Cir.

4    B.A.P. 2000). While section 1112(b)(4) identifies a number of factors that can constitute "cause" for

5    dismissal of a case, the list is not exhaustive. Id.

6            Once "cause" is established, the Court must dismiss the case or convert it to chapter 7, "whichever

7    is in the best interests of creditors and the estate . . . unless the court determines that the appointment under

8    section 1104(a) of a trustee or an examiner is in the best interests of creditors of the estate." See 11 U.S.C.

9    § 1112(b)(1) and In re Nelson, 343 B.R. 671, 675 (9th Cir. BAP 2006); )); see also 7 Collier On

10   Bankruptcy ¶ 1112.05[2] (Alan N. Resnick & Henry J. Sommers eds., 16th ed.) (“Once the movant has

11   established cause, the burden shifts to the respondent to demonstrate by evidence the unusual

12   circumstances that establish that dismissal or conversion is not in the best interests of creditors and the

13   estate.”). The Court, however, may not convert or dismiss a case if there exist “unusual circumstances”

14   that establish dismissal or conversion is not in the best interests of creditors and the estate. See 11 U.S.C. §

15   1112(b)(2). The debtor bears the burden of proving the “unusual circumstances.” In re Sanders, 2013 WL

16   1490971, at *7 (9th Cir. BAP Apr. 11, 2013) (citing In re Orbit Petroleum, Inc., 395 B.R. 145, 148

17   (Bankr. D.N.M. 2008)); see also 7 Collier On Bankruptcy ¶ 1112.05[2] (Alan N. Resnick & Henry J.

18   Sommers eds., 16th ed.) (“Once the movant has established cause, the burden shifts to the respondent to

19   demonstrate by evidence the unusual circumstances that establish that dismissal or conversion is not in the

20   best interests of creditors and the estate.”).

21           Here, as outlined above and argued below, cause exists to dismiss or convert the Debtor’s case

22   pursuant to § 1112(b).

23           A. Debtor’s Failure to Maintain Insurance Coverage

24           Under § 1112(b)(4)(H), the term “cause” includes “failure timely to provide information or attend

25   meetings reasonably requested by the United States Trustee . . . .” Further, under § 1112(b)(4)(C), the

26   term “cause” includes failure to “maintain appropriate insurance that poses a risk to the estate.” Moreover,

27   pursuant to the U.S. Trustee’s Guidelines and Requirements for Chapter 11 Debtors in Possession

28   (effective September 1, 2022), the debtor “must name the U.S. Trustee as an additional interested party on
                                                             6
          Case 8:23-bk-10571-SC        Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27               Desc
                                       Main Document     Page 7 of 28



1    each and every insurance policy. As such, the U.S. Trustee will receive notification of any non-payment
2    of premium or cancellation of policy.”

3           A debtor must maintain property and liability insurance coverage so that the assets of the
4    bankruptcy estate are protected against loss. See In re Van Eck, 425 B.R. 54 (Bankr. D. Conn. 2010).
5           Here, as stated above, the Debtor failed to provide any commercial general liability, workers’
6    compensation, automobile, and/or any other insurance certificate(s) to the U.S. Trustee. Specifically, the
7    Debtor has failed to provide sufficient evidence of any current insurance coverage including: (a) the

8    declaration page for each policy; and/or (b) insurance information in the Chapter 11 Compliance
9    Declaration.
10
            B. Debtor’s Failure to Comply with U.S. Trustee’s Requirements
11
            Local Bankruptcy Rule 2015-2(a)(1) provides that the debtor “must timely provide the United
12
     States trustee with financial, management and operational reports, and such other information requested by
13
     the United States Trustee pursuant to the Guidelines and Requirements for Chapter 11 Debtors in
14
     Possession as necessary to properly supervise the administration of a chapter 11 case.” LBR 2015-2(a)(1).
15
            Failure to comply with the reporting requirements of the United States Trustee and the Local
16
     Bankruptcy Rules is cause to dismiss a Chapter 11 case or convert it to one under Chapter 7. See e.g. In re
17
     3868-70 White Plains Road Inc., 28 B.R. 515 (Bankr. S.D.N.Y. 1983); In re Bianco, 5 B.R. 466 (Bankr. D.
18
     Mass. 1980); In re Pappas, 17 B.R. 662 (Bankr. D. Mass 1982).
19
                 1. Debtor’s Failure to Provide Sufficient Proof of Closure of Pre-Petition Bank Account(s)
20
                     and Opening of Debtor-In-Possession Bank Account(s)
21          Here, as state above, the Debtor has failed to provide any proof of closure of any pre-petition bank
22   account(s). Further, the Debtor has failed to provide sufficient evidence of the opening of the Debtor-In-
23   Possession bank account(s), including a copy of the “Debtor-In-Possession” check for the account(s).17
24   //
25   //
26   //
27
28          17 Id. at ¶ 5(c)-(d).
                                                          7
         Case 8:23-bk-10571-SC         Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                 Desc
                                       Main Document     Page 8 of 28



1                 2. Debtor’s Failure to Provide Projected Cash Flow Statement
2
             As stated above, the Debtor has failed to a projected cash flow statement for the first ninety (90)
3
     days of operation under Chapter 11, as required by the U.S. Trustee’s Guidelines and Requirements for
4
     Chapter 11 Debtors in Possession (effective September 1, 2022).18
5
6                 3. Debtor’s Failure to Provide Proof of Recording of Chapter 11 Petition

7            To the extent the Debtor owns any real property, it has failed to provide confirmed copies of the

8    recording of the Debtor’s bankruptcy petition in each county in which real property is owned. 19
9
                  4. Debtor’s Failure to Provide Proof of Required Certificate(s) and License
10
             As stated above, the Debtor has failed to provide proof of required certificate(s) and/or applicable
11
     license(s) for the business. 20
12
                  5. Debtor’s Failure to Provide Tax Returns
13
14           As stated above, the Debtor has failed to provide income tax returns for its two most recent years. 21

15                6. Debtor’s Failure to Provide Financial Statements
16           As stated above, the Debtor has failed to submit copies of its most recent financial statements
17
     (audited and unaudited), including, but not limited to a balance sheet, income (profit and loss) statement
18
     and a cash flow statement. 22
19
                  7. Debtor’s Failure to Provide U.S. Trustee’s Compliance Declaration
20
21           As stated above, the Debtor has failed to provide the U.S. Trustee’s Compliance Declaration. 23

22
23
             18 Id. at ¶ 5(e).
24
             19 Id. at ¶ 5(f).
25
             20 Id. at ¶ 5(g).
26
             21 Id. at ¶ 5(h).
27
             22 Id. at ¶ 5(i).
28
                                                           8
             23 Id. at ¶ 5(j).
         Case 8:23-bk-10571-SC          Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                 Desc
                                        Main Document     Page 9 of 28



                   8. Debtor’s Failure to Provide Statement of Major Issues and Timetable Report
1
2           As stated above, the Debtor has failed to provide the Statement of Major Issues and Timetable

3    Report. 24

4                  9. Debtor’s Failure to Provide Employee Benefit Plan Questionnaire
5
            As stated above, the Debtor has failed to submit an Employee Benefit Plan Questionnaire. 25
6
                   10. Debtor’s Failure to Submit any Notice of Setting/Increasing Insider Compensation
7
            To the extent the Debtor is seeking to pay its insider(s) in this case, the Debtor has failed to serve
8
     any Notice of Setting/Increasing Insider Compensation pursuant to LBR 2014-1(a) and the U.S. Trustee’s
9
10   Guidelines and Requirements for Chapter 11 Debtors in Possession. 26

11                11. Failure to Provide a List of Insiders as Defined in 11 U.S.C. § 101(31)
12          To date, the Debtor has failed to provide a list of insiders as defined in 11 U.S.C. § 101(31).
13
                  12. Debtor’s Failure to Provide Real Property Questionnaire
14
15          As stated above, the Debtor has failed to provide any Real Property Questionnaire for any leased or
16   owned real property. 27
17
                                                           IV.
18
                                                    CONCLUSION
19
            For the foregoing reason, and also based upon such other and further oral and/or documentary
20
     evidence as may be presented at the time of the hearing, the U.S. Trustee respectfully requests as follows:
21
22
23
24
25          24 Id. at ¶ 5(k).
26          25 Id. at ¶ 5(l).
27          26 Id. at ¶ 5(m).
28
            27 Id. at ¶ 5(b).                               9
        Case 8:23-bk-10571-SC        Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                Desc
                                     Main Document    Page 10 of 28



1          A.     That this Court grant the U.S. Trustee's motion herein and dismiss the Debtor’s case or
2                 convert this case to one under Chapter 7, whichever is in the best interest of creditors and

3                 the estate; and
4          B.     That this Court order such other and further relief as it deems appropriate under the
5                 circumstances, of this case.
6                                                Respectfully Submitted,
7
                                                 PETER C. ANDERSON
8                                                UNITED STATES TRUSTEE
     Dated: March 29, 2023                       /s/ Queenie K. Ng
9                                                Queenie K. Ng
                                                 Attorney for the U.S. Trustee
10
11
12
13
14
15
16
17

18
19
20
21
22
23
24
25
26
27
28
                                                        10
         Case 8:23-bk-10571-SC          Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27              Desc
                                        Main Document    Page 11 of 28



                                    DECLARATION OF MARILYN SORENSEN
1
        I, Marilyn Sorensen, hereby declare as follows:
2
        1. I am employed by the Office of the U.S. Trustee for Region 16 as a Bankruptcy Analyst. My duties
3
     and responsibilities include the review and analysis of Chapter 11 cases, including the case of The
4
     Litigation Practice Group, P.C.
5
        2. This Chapter 11 bankruptcy case was filed on March 20, 2023. 28 Schedules and the Statement of
6
     Financial Affairs are due April 3, 2023.
7
        3.   On March 22, 2023, I sent an email to Debtor’s counsel, Joon Khang, which contained all of the
8
     information about the Guidelines and Requirements for Chapter 11 Debtors in Possession (“U.S. Trustee
9    Requirements”) and the date of the Initial Debtor Interview (“IDI”). A true and correct copy of the March
10   22, 2023, email is attached hereto as Exhibit “B.”
11      4. On March 28, 2023, I emailed Debtor’s counsel indicating that the Debtor had failed to comply
12   with the U.S. Trustee Requirements. A true and correct copy of the March 28, 2023, email is attached
13   hereto as Exhibit “C.”
14      5. To date, the Debtor has not complied with any of the U.S. Trustee requirements, including but not

15   limited to:

16                 a. Failure to Provide Proof of Insurance Coverage

17           The Debtor has not provided commercial general liability, workers’ compensation, automobile, or

18   any other insurance certificates to the U.S. Trustee.

19                 b. Failure to Provide Real Property Questionnaire(s)

20           To date, the Debtor has failed to provide any Real Property Questionnaire(s) for any leased or

21   owned real property.

22
                   c. Failure to Provide Sufficient Proof of Closure of Pre-Petition Bank Accounts
23
             The Debtor has not provided any proof that nay pre-petition bank account(s) have been closed.
24
25                 d. Failure to Provide Evidence of the Opening of the Debtor-In-Possession Bank Account(s)

26
27
             28 A true and accurate copy of the Court Pacer Docket for Case No. 8:23-bk-10571 SC is attached
28   hereto as Exhibit “A” and is incorporated herein by this reference as if set forth in full.
                                                             11
          Case 8:23-bk-10571-SC        Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                Desc
                                       Main Document    Page 12 of 28



            To date, the Debtor has failed to provide evidence of the opening of the Debtor-In-Possession bank
1
2    account(s), including a copy of the “Debtor-In-Possession” check for the account(s).

3                 e. Failure to Provide Projected Cash Flow Statement

4           To date, the Debtor has failed to provide a projected cash flow statement for the first ninety (90)
5
     days of operation under Chapter 11, as required by the United States Trustee’s Guidelines and
6
     Requirements for Chapter 11 Debtors in Possession (effective September 1, 2022).
7
                  f. Failure to Provide Proof of Recording of Chapter 11 Petition
8
            To the extent that the Debtor owns any real property, it has failed to provide confirmed copies of
9
10   the recording of its bankruptcy petition in each county in which real property is owned.

11                g. Failure to Provide Proof of Required Certificate and License
12          To date, the Debtor has failed to provide proof of required certificate(s) and/or applicable license(s)
13
     for the business.
14
                  h. Failure to Provide Income Tax Returns
15
            To date, the Debtor has failed to provide income tax returns for its two most recent years.
16
17                i. Failure to Provide Financial Statements

18          To date, the Debtor has failed to submit copies of its most recent financial statements (audited and

19   unaudited), including but not limited to a balance sheet, income (profit and loss) statement and a cash flow
20   statement.
21
                  j. Failure to Provide Declaration Regarding Compliance with U.S. Trustee Guidelines and
22
                     Requirements for Chapter 11 Debtors in Possession
23
            To date, the Debtor has failed to provide the Declaration of debtor Regarding Compliance with
24
25   U.S. Trustee Guidelines and Requirements for Chapter 11 Debtors in Possession (Form USTLA-3).

26          k.       Failure to Provide Statement of Major Issues and Timetable Report

27          To date, the Debtor has failed to provide the Statement of Major Issues and Timetable Report.
28
     //                                                   12
Case 8:23-bk-10571-SC   Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27   Desc
                        Main Document    Page 13 of 28
Case 8:23-bk-10571-SC   Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27   Desc
                        Main Document    Page 14 of 28




                        Exhibit “A”
         Case 8:23-bk-10571-SC        Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27               Desc
                                      Main Document       Page 15 of 28
                            8:23-bk-10571-SC     The Litigation Practice Group P.C.
                      Case type: bk Chapter: 11 Asset: Yes Vol: v Judge: Scott C Clarkson
                             Date filed: 03/20/2023 Date of last filing: 03/29/2023

                                                    History
Doc.
                    Dates                                              Description
No.
       Filed & Entered:      03/20/2023 Set Case Commencement Deficiency Deadlines (def/deforco)
       Docket Text: Set Case Commencement Deficiency Deadlines (def/deforco) (RE: related document(s)1
       Voluntary Petition (Chapter 11) filed by Debtor The Litigation Practice Group P.C.) List of Equity Security
       Holders due 4/3/2023. Summary of Assets and Liabilities (Form 106Sum or 206Sum ) due 4/3/2023.
       Schedule A/B: Property (Form 106A/B or 206A/B) due 4/3/2023. Schedule D: Creditors Who Have Claims
       Secured by Property (Form 106D or 206D) due 4/3/2023. Schedule E/F: Creditors Who Have Unsecured
       Claims (Form 106E/F or 206E/F) due 4/3/2023. Schedule G: Executory Contracts and Unexpired Leases
       (Form 106G or 206G) due 4/3/2023. Schedule H: Your Codebtors (Form 106H or 206H) due 4/3/2023.
       Declaration Under Penalty of Perjury for Non-Individual Debtors (Form 202) due 4/3/2023. Statement of
       Financial Affairs (Form 107 or 207) due 4/3/2023. (TS)
       Filed & Entered:      03/20/2023 Set Case Commencement Deficiency Deadlines (ccdn)
       Docket Text: Set Case Commencement Deficiency Deadlines (ccdn) (RE: related document(s)1 Voluntary
       Petition (Chapter 11) filed by Debtor The Litigation Practice Group P.C.) Corporate Resolution Authorizing
       Filing of Petition due 4/3/2023. Corporate Ownership Statement (LBR Form F1007-4) due by 4/3/2023.
       Statement of Related Cases (LBR Form F1015-2) due 4/3/2023. Disclosure of Compensation of Attorney
       for Debtor (Form 2030) due 4/3/2023. Verification of Master Mailing List of Creditors (LBR Form F1007-
       1) due 4/3/2023. Incomplete Filings due by 4/3/2023. (TS)
 1     Filed & Entered:     03/20/2023 Voluntary Petition (Chapter 11)
       Docket Text: Chapter 11 Voluntary Petition Non-Individual. Fee Amount $1738 Filed by The Litigation
       Practice Group P.C. (Khang, Joon). See docket entries #4, #5 for corrections. 72 Hours Deficiency Set:
       Master Mailing List of Creditors must be uploaded in CM/ECF in text (.txt) format due 3/23/2023. Master
       Mailing List of Creditors due 3/23/2023. Incomplete Filings due 3/23/2023. Case Deficient For: List of
       Equity Security Holders due 4/3/2023. Summary of Assets and Liabilities (Form 106Sum or 206Sum) due
       4/3/2023. Schedule A/B: Property (Form 106A/B or 206A/B) due 4/3/2023. Schedule D: Creditors Who
       Have Claims Secured by Property (Form 106D or 206D) due 4/3/2023. Schedule E/F: Creditors Who Have
       Unsecured Claims (Form 106E/F or 206E/F) due 4/3/2023. Schedule G: Executory Contracts and Unexpired
       Leases (Form 106G or 206G) due 4/3/2023. Schedule H: Your Codebtors (Form 106H or 206H) due
       4/3/2023. Declaration Under Penalty of Perjury for Non-Individual Debtors (Form 202) due 4/3/2023.
       Statement of Financial Affairs (Form 107 or 207) due 4/3/2023. Corporate Resolution Authorizing Filing of
       Petition due 4/3/2023. Corporate Ownership Statement (LBR Form F1007-4) due by 4/3/2023. Statement of
       Related Cases (LBR Form F1015-2) due 4/3/2023. Disclosure of Compensation of Attorney for Debtor
       (Form 2030) due 4/3/2023. Verification of Master Mailing List of Creditors (LBR Form F1007-1) due
       4/3/2023. Incomplete Filings due by 4/3/2023. Modified on 3/20/2023 (TS). AMENDED 72 Hours
       Deficiency Set: Chapter 11 Case: List of Creditors Who Have the 20 Largest Unsecured Claims due
       3/23/2023. Modified on 3/21/2023 (TS).
 2     Filed & Entered:     03/20/2023 Notice of Case Deficiency (11 U.S.C. Sec. 521 & Rule 1007) (Ch 11/12)
                                         (BNC)
       Docket Text: Notice of Case Deficiency Under 11 U.S.C. Sec. 521(a)(1) and Bankruptcy Rule 1007 (BNC)
       (RE: related document(s)1 Voluntary Petition (Chapter 11) filed by Debtor The Litigation Practice Group
       P.C.) (TS)
 3     Filed & Entered:     03/20/2023 Case Commencement Deficiency Notice (BNC)
       Case 8:23-bk-10571-SC         Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27 Desc
                                     Main Document         Page 16 of 28
    Docket Text: Case Commencement Deficiency Notice (BNC) (RE: related document(s)1 Voluntary Petition
    (Chapter 11) filed by Debtor The Litigation Practice Group P.C.) (TS)
4   Filed & Entered:      03/20/2023 Notice of Dismissal of Case If Required Documents Are Not Filed Within
                                      72 Hours (VAN-197) (BNC)
    Docket Text: Notice of Dismissal of Case If Required Documents Are Not Filed Within 72 Hours (BNC) .
    (TS)
5   Filed & Entered:      03/20/2023 Notice to Filer of Error and/or Deficient Document
    Docket Text: Notice to Filer of Error and/or Deficient Document Petition was filed as complete, but
    schedules or statements are deficient. THE FILER IS INSTRUCTED TO FILE THE DEFICIENT
    DOCUMENTS. (RE: related document(s)1 Voluntary Petition (Chapter 11) filed by Debtor The Litigation
    Practice Group P.C.) (TS)
    Filed & Entered:     03/21/2023 Automatic docket of credit card/debit card
    Docket Text: Receipt of Voluntary Petition (Chapter 11)( 8:23-bk-10571) [misc,volp11] (1738.00) Filing
    Fee. Receipt number AXXXXXXXX. Fee amount 1738.00. (re: Doc# 1) (U.S. Treasury)
6   Filed & Entered:     03/21/2023 Notice of Dismissal of Case If Required Documents Are Not Filed Within
                                     72 Hours (VAN-197) (BNC)
    Docket Text: AMENDED Notice of Dismissal of Case If Required Documents Are Not Filed Within 72
    Hours (BNC). (TS)
7   Filed & Entered:     03/22/2023 Verification of Master Mailing List of Creditors (LBR F1007-1)
    Docket Text: Verification of Master Mailing List of Creditors (LBR Form F1007-1) Filed by Debtor The
    Litigation Practice Group P.C. (RE: related document(s) Set Case Commencement Deficiency Deadlines
    (ccdn)). (Khang, Joon)
8   Filed & Entered:     03/22/2023 BNC Certificate of Notice
    Docket Text: BNC Certificate of Notice (RE: related document(s)3 Case Commencement Deficiency Notice
    (BNC)) No. of Notices: 1. Notice Date 03/22/2023. (Admin.)
9  Filed & Entered:     03/22/2023 BNC Certificate of Notice
   Docket Text: BNC Certificate of Notice (RE: related document(s)2 Notice of Case Deficiency (11 U.S.C.
   Sec. 521 & Rule 1007) (Ch 11/12) (BNC)) No. of Notices: 1. Notice Date 03/22/2023. (Admin.)
10 Filed & Entered:     03/22/2023 BNC Certificate of Notice
   Docket Text: BNC Certificate of Notice (RE: related document(s)4 Notice of Dismissal of Case If Required
   Documents Are Not Filed Within 72 Hours (VAN-197) (BNC)) No. of Notices: 2. Notice Date 03/22/2023.
   (Admin.)
11 Filed & Entered:     03/23/2023 Meeting of Creditors Chapter 11 (Corporations or Partnerships) (309F1)
   Docket Text: Meeting of Creditors 341(a) meeting to be held on 4/24/2023 at 11:00 AM at UST-SA1,
   TELEPHONIC MEETING. CONFERENCE LINE:1-866-919-0527, PARTICIPANT CODE:2240227. Last
   day to oppose discharge or dischargeability is 6/23/2023. (JL)
12 Filed & Entered:     03/23/2023 Request for courtesy Notice of Electronic Filing (NEF)
   Docket Text: Request for courtesy Notice of Electronic Filing (NEF) Filed by Moldo, Byron. (Moldo,
   Byron)
13 Filed & Entered:   03/23/2023 BNC Certificate of Notice
   Docket Text: BNC Certificate of Notice (RE: related document(s)6 Notice of Dismissal of Case If Required
   Documents Are Not Filed Within 72 Hours (VAN-197) (BNC)) No. of Notices: 2. Notice Date 03/23/2023.
   (Admin.)
14 Filed & Entered:     03/24/2023 Order (Generic) (BNC-PDF)
   Docket Text: Order (1) Setting Scheduling Hearing And Case Management Conference And (2) Requiring
   Status Report. The Status Conference Hearing Is Set For June 14, 2023 At 1:30 P.M. In Courtroom 5C-
        Case 8:23-bk-10571-SC Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27 Desc
                                      MainInto
     Virtual (Accessibility Will Be Posted  Document
                                               The Court's Page    17 Ruling
                                                             Tentative of 28 Prior To The Hearing), Located At
     411 West Fourth Street, Santa Ana, CA 92701. (BNC-PDF) (Related Doc # [1]) Signed on 3/24/2023 (NB8)
15   Filed & Entered:      03/24/2023 Hearing Set (Other) (BK Case - BNC Option)
     Docket Text: Hearing Set (RE: related document 14 Order (1) Setting Scheduling Hearing And Case
     Management Conference And (2) Requiring Status Report.) Status Conference hearing to be held on
     6/14/2023 at 01:30 PM at Crtrm 5C-Virtual, 411 W Fourth St., Santa Ana, CA 92701. The case judge is
     Scott C Clarkson (NB8)
16   Filed & Entered:      03/24/2023 Chapter 11 or Chapter 9: List of Creditors Who Have the 20 Largest
                                       Unsecured Claims and Are Not Insiders (Form 104 or 204)
     Docket Text: Chapter 11 or Chapter 9 Cases Non-Individual:: List of Creditors Who Have the 20 Largest
     Unsecured Claims and Are Not Insiders (Form 104 or 204) Filed by Debtor The Litigation Practice Group
     P.C. (RE: related document(s)1 Voluntary Petition (Chapter 11)). (Khang, Joon)
17   Filed & Entered:      03/25/2023 BNC Certificate of Notice
     Docket Text: BNC Certificate of Notice (RE: related document(s)11 Meeting of Creditors Chapter 11
     (Corporations or Partnerships) (309F1)) No. of Notices: 62. Notice Date 03/25/2023. (Admin.)
18   Filed & Entered:      03/26/2023 BNC Certificate of Notice - PDF Document
     Docket Text: BNC Certificate of Notice - PDF Document. (RE: related document(s)14 Order (Generic)
     (BNC-PDF)) No. of Notices: 1. Notice Date 03/26/2023. (Admin.)
     Filed & Entered:      03/29/2023 Automatic docket of credit card/debit card
     Docket Text: Receipt of Motion for Relief from Stay - Unlawful Detainer( 8:23-bk-10571-SC)
     [motion,nmud] ( 188.00) Filing Fee. Receipt number AXXXXXXXX. Fee amount 188.00. (re: Doc# 19) (U.S.
     Treasury)
19   Filed & Entered:      03/29/2023 Motion for Relief from Stay - Unlawful Detainer
     Docket Text: Notice of motion and motion for relief from the automatic stay with supporting declarations
     UNLAWFUL DETAINER RE: 17542 E. 17th Street, Suites 100, 105, 250 & 330, Tustin, CA 92780 with
     Proof of Service. Fee Amount $188, Filed by Creditor SDCO Tustin Executive Center, Inc. (Brown, Ronald)
20   Filed & Entered:      03/29/2023 Hearing Set (Motion) (BK Case - BNC Option)
     Docket Text: Hearing Set (RE: related document(s)19 Motion for Relief from Stay - Unlawful Detainer RE:
     17542 E 17th Street, Suites 100, 105, 240 & 330, Tustin, CA 92780 filed by Creditor SDCO Tustin
     Executive Center, Inc.) The Hearing date is set for 5/3/2023 at 01:30 PM at Crtrm 5C-Virtual, 411 W Fourth
     St., Santa Ana, CA 92701. The case judge is Scott C Clarkson (NB8)

                                          PACER Service Center
                                              Transaction Receipt
                                                  03/30/2023 10:03:19
                         PACER                            Client
                                      queenieng
                         Login:                           Code:
                                                                        8:23-bk-10571-SC Type:
                                                          Search
                         Description: History/Documents                 History Docket Text:
                                                          Criteria:
                                                                        DisplayDktText
                         Billable
                                      3                   Cost:         0.30
                         Pages:
Case 8:23-bk-10571-SC   Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27   Desc
                        Main Document    Page 18 of 28




                        Exhibit “B”
Case 8:23-bk-10571-SC               Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                  Desc
                                    Main Document    Page 19 of 28

 From:            Sorensen, Marilyn (USTP)
 To:              Joon Khang
 Cc:              Ng, Queenie K. (USTP)
 Subject:         IDI letter - The Litigation Practice Group P.C. (8: 23-bk-10571-SC)
 Date:            Wednesday, March 22, 2023 7:41:00 AM
 Attachments:     IDI letter - The Litigiation Practice Group P.C..pdf


Good morning Mr. Khang,

The formal IDI letter is attached and should be reviewed with your client. Please execute it and
return it to our office before April 5, the day of the Initial Debtor Interview. Please note that the IDI
will be conducted by video using Microsoft Teams.

Thank you,
Marilyn Sorensen
Case 8:23-bk-10571-SC         Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                      Desc
                              Main Document    Page 20 of 28




                                           U.S. Department of Justice

                                            United States Trustee
                                            Central District of California

                                             411 W. Fourth Street             Phone 714 338-3400
                                             Suite 7160                       FAX 714 338-3421
                                             Santa Ana, California 92701-8000
March 22, 2023


Re: Chapter 11 – The Litigation Practice Group P.C. (8: 23-bk-10571-SC)

Dear Counsel,

         The United States Trustee is charged with supervising the administration of cases under
Chapter 11 of Title 11 pursuant to 28 U.S.C. § 586 and other applicable statutes. Accordingly,
this letter will provide notice of requirements for the above-referenced debtor-in-possession
(“DIP”) in connection with this Chapter 11 case.

        This letter and the attachments to this email correspondence are being sent to you as
attorney for the DIP and are not being sent to the DIP’s representative. Please inform the DIP’s
representative of his/her responsibilities as a Chapter 11 debtor-in-possession. At or before the
Initial Debtor Interview (IDI), return an executed copy of the certification below to the
compliance email address at USTP.Region16.Ch11@usdoj.gov.

      The IDI is scheduled for the following date and time:
                     Date: Wednesday, April 5
                     Time: 9:00 a.m.
(Video meeting using Microsoft Teams – see calendar invitation sent earlier today)

        During the IDI, the DIP’s representative must be prepared to answer questions regarding
the DIP’s operating history, factors contributing to the bankruptcy filing, and the DIP’s
plan/prospects for an effective reorganization. In addition, we will review the U.S. Trustee
Guidelines and Requirements for Chapter 11 Debtors (the “Guidelines”) and discuss the DIP’s
fiduciary duties as a Chapter 11 debtor moving forward. A DIP’s representative will not be
excused from attending an IDI prior to the § 341(a) meeting of creditors.

U.S. Trustee Guidelines and Requirements for Chapter 11 Debtors

        Please see the attached Guidelines, that make reference to the Local Rules of Bankruptcy
Procedure (the “Local Rules”) for the Central District of California. A copy of the Local Rules
may be downloaded from the United States Bankruptcy Court’s website at
http://www.cacb.uscourts.gov/. All applicable provisions of the Bankruptcy Code, Federal
Rules of Bankruptcy Procedure, Local Rules, General Orders, and other orders of the Court must
Case 8:23-bk-10571-SC         Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27               Desc
                              Main Document    Page 21 of 28



be observed in Chapter 11 cases.

Failure to comply with any requirement may result in a motion by the United States Trustee, or
another party, to dismiss or convert the case, or to request other relief.

Notice of Concerning the Requirements Governing the Deposit of Estate funds

         Bankruptcy Code § 345 prohibits the DIP from depositing or investing bankruptcy estate
funds in financial institutions that are not insured by the Federal Deposit Insurance Corporation
(“FDIC”) and that are not approved depositories. Accordingly, all bankruptcy estate funds for
Chapter 11 cases must be maintained at an approved depository institution that has agreed to
fulfill the requirements established by the United States Trustee Program.

Debtor-in-Possession Bank Accounts:

        Pursuant to Local Rule 2015-2, a debtor must close all existing financial accounts and
establish new DIP bank accounts upon the filing of a Chapter 11 petition. The funds must be
deposited and maintained in a federally insured depository that is included on the United States
Trustee’s list of approved depositories. For further information, see Guidelines, section 4.4.6.

Monthly Operating Reports:

       On December 21, 2020, the United States Trustee Program published a final rule in the
Federal Register entitled “Procedures for Completing Uniform Periodic Reports in Non-Small
Business Cases Filed Under Chapter 11 of Title 11" (the “Final Rule"). The Final Rule became
effective on June 21,2021 and governs the filing of pre-confirmation monthly operating reports
(MORs) and quarterly post-confirmation reports (PCRs) by all debtors except those who are
small businesses or who, in accordance with the CARES Act, elect relief under subchapter V of
Chapter 11.

       Practitioners should understand potential changes to applicable filing and service
requirements. Unless otherwise provided by Local Rule, each report must be filed with the
bankruptcy court no later than the 21st day of the month immediately following the covered
reporting period. Forms and Instructions are accessible at:
https://www.justice.gov/ust/chapter-11-operating-reports.

     During the IDI, we will review the Debtor’s reporting capabilities and the supplemental
documentation that the DIP’s representative is required to file in conjunction with the reports.

THE FOLLOWING SUPPORTING DOCUMENTS MUST BE FILED AS
ATTACHMENTS TO THE MONTHLY OPERATING REPORT (“MOR”) IN ALL NON-
INDIVIDUAL CASES:


   1. Statement of cash receipts and disbursements;
Case 8:23-bk-10571-SC         Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                 Desc
                              Main Document    Page 22 of 28



   2. Balance sheet containing the summary and detail of assets, liabilities and equity (net
      worth) or deficit;

   3. Statement of Operations (Profit and Loss Statement);

   4. General Ledger, including payroll ledger, with details about the date, payee, purpose,
      amount, and method of payment (ACH, check no.);

   5. Statement of Capital Assets;

   6. Bank Statements and Bank Reconciliations;

   7. Schedule of Payment to Insiders;

   8. Schedule of Insurance Policies (including name of carrier, coverage, policy expiration
      date, and dates premium paid); and

   9. Holographic signatures of both the attorney responsible for filing the MORs and DIP
      representative.


       Please be advised that failure of the DIP’s representative to appear and cooperate with the
Office of the United States Trustee in producing requested documents may result in appropriate
enforcement action, including a motion to convert or dismiss based on the DIP’s failure to
comply with the Guidelines.


                                                     Sincerely,

                                                     __Marilyn Sorensen_____
                                                       Bankruptcy Analyst


                                        CERTIFICATION

 I certify that [the Debtor], through its authorized representative [name], has received a copy of
this letter.



                                                     Name:__________________________
                                                     Counsel for: _____________________

copy: file
Case 8:23-bk-10571-SC   Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27   Desc
                        Main Document    Page 23 of 28




                        Exhibit “C”
Case 8:23-bk-10571-SC              Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                                       Desc
                                   Main Document    Page 24 of 28

 From:            Sorensen, Marilyn (USTP)
 To:              Joon Khang
 Cc:              Ng, Queenie K. (USTP)
 Subject:         Failure To Comply with UST Guidelines & Requirements - The Litigation Practice Group P.C. (8: 23-bk-10571-SC)
 Date:            Tuesday, March 28, 2023 9:24:00 AM
 Importance:      High


Dear Mr. Khang,

The Debtor has failed to comply with any of the Guidelines and Requirements for Chapter 11
Debtors in Possession. Our office may proceed with a motion to dismiss or convert the case.

Sincerely,
Marilyn Sorensen



From: Sorensen, Marilyn (USTP)
Sent: Wednesday, March 22, 2023 7:42 AM
To: Joon Khang <joon@khanglaw.com>
Cc: Ng, Queenie K. (USTP) <Queenie.K.Ng@usdoj.gov>
Subject: IDI letter - The Litigation Practice Group P.C. (8: 23-bk-10571-SC)

Good morning Mr. Khang,

The formal IDI letter is attached and should be reviewed with your client. Please execute it and
return it to our office before April 5, the day of the Initial Debtor Interview. Please note that the IDI
will be conducted by video using Microsoft Teams.

Thank you,
Marilyn Sorensen
        Case 8:23-bk-10571-SC                      Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                                     Desc
                                                   Main Document    Page 25 of 28



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                      411 West Fourth Street, Suite 7160, Santa Ana, CA 92701

A true and correct copy of the foregoing document entitled (specify):

NOTICE OF MOTION AND MOTION BY UNITED STATES TRUSTEE TO DISMISS OR CONVERT
CASE PURSUANT TO 11 U.S.C.§ 1112(b); MEMORANDUM OF POINTS AND AUTHORITIES;
DECLARATION OF MARILYN SORENSEN IN SUPPORT THEREOF


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) March 30, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                           SEE ATTACHED SERVICE LIST (IF APPLICABLE)


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) March 30, 2023, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                           SEE ATTACHED SERVICE LIST (IF APPLICABLE)

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) March 30, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                           SEE ATTACHED SERVICE LIST (IF APPLICABLE)


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

March 30, 2023                    Queenie Ng                                       /s/ Queenie Ng
Date                              Print Name                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-bk-10571-SC                      Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                                     Desc
                                                   Main Document    Page 26 of 28


                                                   ADDITIONAL SERVICE INFORMATION

     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

            Name                                    Capacity                                            Email Address
            Byron Moldo                                                                               bmoldo@ecjlaw.com
            Ronald Brown                           SDCO Tustin Executive Center, Inc.                 ron@rkbrownlaw.com
            Joon Khang                             Debtor’s Attorney                                  joon@khanglaw.com
        SEE NEF FOR CONFIRMATION OF ELECTRONIC TRANSMISSION TO THE U.S. TRUSTEE AND ANY
        TRUSTEE IN THIS CASE, AND TO ANY ATTORNEYS WHO RECEIVE SERVICE BY NEF.

2.      SERVED BY U.S. MAIL

        Debtor:
        The Litigation Practice Group P.C.
       17542 17th St., Suite 100
       Tustin, CA 92780
3.      SERVED BY (state method for each person served):


        PERSONAL DELIVERY, FACSIMILE OR EMAIL

        Judge’s Copy

        Honorable Scott C. Clarkson – bin on the 5th Floor




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
         Case 8:23-bk-10571-SC         Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                Desc
                                       Main Document    Page 27 of 28


     PETER C. ANDERSON
1    UNITED STATES TRUSTEE
     QUEENIE K. NG (State Bar No. 223803)
2    TRIAL ATTORNEY
     OFFICE OF THE UNITED STATES TRUSTEE
3    411 West Fourth Street, Suite 7160
     Santa Ana, CA 92701-8000
4
     Telephone: (714) 338-3403
5
     Facsimile: (714) 338-3421
     Email: Queenie.K.Ng@usdoj.gov
6

7

8                              UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
9

10
     In Re:                                                  CASE NUMBER: 8:23-bk-10571 SC
11
     THE LITIGATION PRACTICE GROUP                           CHAPTER 11
12
     P.C.,
                                                             NOTICE OF HEARING
13

14                                     Debtor.
15

16
     TO THE CREDITORS AND OTHER INTERESTED PARTIES:
17

18
              NOTICE IS HEREBY GIVEN that the following hearing will be held on
     May 3, 2023 at 1:30 p.m. in Courtroom 5C – Virtual (Accessibility information will be posted into the
19
     Court’s tentative ruling prior to the hearing), located at 411 West Fourth Street, Santa Ana, CA 92701.
20

21   NOTICE OF MOTION AND MOTION BY UNITED STATES TRUSTEE TO DISMISS CASE OR
     CONVERT CASE TO ONE UNDER CHAPTER 7 PURSUANT TO 11 U.S.C.§ 1112(b); DECLARATION
22   OF MARILYN SORENSEN IN SUPPORT THEREOF
23
              Please be advised that because of the COVID-19 pandemic, the Court will conduct the
24
     hearing using ZoomGov audio and video technology. Hearing participants and members of the
25
     public may participate in and/or observe the hearing using ZoomGov. For more information on
26

27   appearing before Judge Clarkson by ZoomGov, please see the “Notice Re Telephonic Appearance

28   Procedures for Judge Scott C. Clarkson’s Cases” on the Court’s website at:
         Case 8:23-bk-10571-SC         Doc 21 Filed 03/30/23 Entered 03/30/23 10:52:27                Desc
                                       Main Document    Page 28 of 28



     https://www.cacb.uscourts.gov/judges/honorable-scott-c-clarkson under the "Telephonic
1

2    Instructions" section.

3    Objections, if any, to the above shall be in writing and filed with the Court and served upon the court party
     named in the upper left-hand corner of this notice at least fourteen (14) days prior to the hearing date. See
4
     Local Bankruptcy Rule 9013-1(f)&(h)
5

6

7
     DATED: March 30, 2023                                KATHLEEN J. CAMPBELL
8
                                                          Clerk of Court

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
